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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



  UNITED STATES OF AMERICA, et al.,

                       Plaintiffs,

                      v.                                 Civil Action No. 1:23-cv-10511-WGY


  JETBLUE AIRWAYS CORPORATION and
  SPIRIT AIRLINES, INC.,

                       Defendants.



      PLAINTIFFS’ OBJECTIONS TO DEFENDANTS’ PROPOSED WITNESSES

          Pursuant to the Court’s Procedural Order re: Final Pretrial Conference/Trial (ECF

No. 189), Plaintiffs United States of America and the State of California, District of Columbia,

State of Maryland, Commonwealth of Massachusetts, State of New Jersey, State of New York,

and State of North Carolina hereby provide notice that they object to the following proposed

witnesses on Defendants’ witness list for the reasons in Plaintiffs’ previously-filed motions in

limine and memoranda in support thereof:



                   Proposed Witness           Relevant Motion in Limine

                   Sara Nelson                ECF No. 171

                   Richard Scheff             ECF No. 179
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Dated: October 3, 2023            Respectfully submitted,

                                   /s/ Edward W. Duffy
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                                  Attorneys for the United States of America, the
                                  Commonwealth of Massachusetts, and the District of
                                  Columbia, and on behalf of all Plaintiffs




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                                     CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document, which was filed with the Court through the

CM/ECF system, will be sent electronically to all registered participants as identified on the

Notice of Electronic Filing.

Dated: October 3, 2023                              /s/ Edward W. Duffy                           .
